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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:05CR3035
                                     )
           v.                        )
                                     )
JOSE ENRIQUE AYALA CHAVEZ,           )          MEMORANDUM AND ORDER
                                     )
                Defendants.          )
                                     )


     The defendant has filed a Motion to Reveal Identity of
Confidential Informant and Request for Evidentiary Hearing,
filing 28.   The defendant requests the identity of CI 377-2943,
who allegedly participated with the defendant in distributing
methamphetamine on June 10, 2004 (Filing 1 (indictment), Count
II), and on June 24, 2004 (Filing 1 (indictment), Count III).


     The government’s response (filing 30) states that on June
20, 2005, the identity of the cooperating individual (including
this cooperating individual’s name, criminal history, and
judgment in his federal criminal case) who allegedly participated
in controlled buys with the defendant on June 10, 2004, and June
24, 2004 was disclosed to defendant’s counsel.


     IT THEREFORE HEREBY IS ORDERED: The defendant’s Motion to
Reveal Identity of Confidential Informant and Request for
Evidentiary Hearing, filing 28, is denied as moot.

     DATED this 22nd day of June, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
